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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA

                                          Alexandria Division


   UNITED STATES OF AMERICA
                                                        No. \:2l-cr-^rf
            V.



   CODY SCOTT ALEXANDER

            Defendant.




                                      STATEMENT OF FACTS


         The United States and the Defendant, CODY SCOTT ALEXANDER ("ALEXANDER")

 stipulate that the allegations in the criminal information and the following facts are true and correct,

 and that had the matter gone to trial, the United States would have proven the following facts

 beyond a reasonable doubt:

         1.      From at least 2019 and continuing until approximately June 2021, the defendant,

 CODY SCOTT ALEXANDER, within the Eastern District of Virginia and elsewhere, combined,

 conspired, and agreed together with others, known and unknown, to unlawfully, knowingly, and

 intentionally distribute 500 grams or more of a mixture and substance containing a detectable

 amount of methamphetamine, a Schedule II controlled substance, in violation of21 U.S.C. §§ 841

 and 846.


        2.       ALEXANDER worked with sources of supply to obtain distribution quantities of

 methamphetamine that he distributed throughout the Washington, D.C. Metropolitan Area

 ("WMA"), including the Eastern District of Virginia.

        3.       Specifically, starting in at least early 2020, ALEXANDER obtained pound-

 quantities of methamphetamine for re-distribution throughout the WMA.
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